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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,          )
                                   )          1:04-CR-5185 OWW
                    Plaintiff,     )
     vs.                           )
                                   )          ORDER FOR RETURN OF
DANIEL SAL PEREZ,                  )          NOTE AND DEED OF TRUST
                                   )
                    Defendants.    )
___________________________________)


     The above-named defendant having surrendered to the custody

of the Bureau of Prisons as directed;

     IT IS HEREBY ORDERED that the Note and Deed of Trust

posted in this matter be returned to the surety.

Deed No.:           2004-133644 (COPY)

Receipt No.:


IT IS SO ORDERED.

Dated: January 22, 2008                /s/ Oliver W. Wanger
emm0d6                            UNITED STATES DISTRICT JUDGE
